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                              MARGARET M.                            S HALLEY
                                        &    ASSOCIATES, LLC


OF"   COUNSEL:

.JAMES M . BRANDEN
.JAMES SHALLEY                                                        April 7, 2014

      VIAECF
      The Honorable Kiyo A. Matsumoto
      United States District Court Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201

                                                               Re:    United States v. Phillip Baynes
                                                                      15 Cr. 139 (KAM)

      Dear Judge Matsumoto:

          I represent Phillip Baynes, the defendant in the above-referenced case. This letter is
  respectfully submitted to request an adjournment of the defendant's arraignment. Mr. Baynes is
  currently a patient at New York Methodist Hospital, located at 506 Sixth Street in Park Slope,
  Brooklyn. Approximately one week ago, Mr. Baynes' wife brought him to the hospital after the
  police found him wandering the streets and had escorted him home. He has remained in the
  hospital for the past week after presenting with memory loss, a seizure and dizziness. Mr.
  Baynes has been admitted to the hospital three times in the past fifteen months and has had three
  additional emergency room visits. The first of these hospitalizations occurred on December 6,
  2013, after he was found unconscious by his wife. He had exhibited incoherent speech, reported
  having hallucinations, and could not remember the names of his family members. With respect
  to his current hospital admission, Mr. Baynes has been confused, disoriented and has forgotten
  where he lives. He is currently undergoing a battery of tests and awaiting a final diagnosis. The
  attending physician, Dr. Cherubin, has suggested to Mr. Bayne's wife that Mr. Baynes may be
  suffering from early onset Alzheimer's disease.          Accordingly, counsel waives speedy
  arraignment from April 6, 2015 until April 17, 2015 . Counsel will update the Court concerning
  Mr. Baynes' medical condition. The Court' s time and attention to this matter is greatly
  appreciated.

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                                                               Margaret~halley
  CC:       AUSA Brittney Campbell
            Via electronic mail

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